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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                            §
                                                    §
                                                    §           Criminal Action No.
vs.                                                 §           3:18-CR-356-S(03)
                                                    §
JOHN O GREEN                                        §

                                                ORDER

          By electronic order dated July 16, 2019 (doc. 54), before the Court is Defendants’ Joint Motion

to Compel, filed July 12, 2019 (doc. 50). A hearing concerning the motion was conducted on August

21, 2019, and it was continued until August 28, 2019, to permit in camera review of the special agent’s

report that is the subject of the motion to compel. All parties appeared in person and/or through

counsel for one or both hearings. Based on the relevant filings, evidence, oral argument, and

applicable law, and for the reasons stated on the record during the hearing, the motion is DENIED.

The government shall file the report of record, ex parte and under seal, for purposes of appellate

review.

          SO ORDERED on this 28th day of August, 2019.



                                                          ___________________________________
                                                          IRMA CARRILLO RAMIREZ
                                                          UNITED STATES MAGISTRATE JUDGE
